              Case 19-14606-amc                    Doc         Filed 05/20/24 Entered 05/20/24 19:10:29                               Desc Main
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 Fill in this information to identify the case:
 Debtor 1
                 Linda D. DaCosta
 Debtor 2

 (Spouse, if filing)
 United States Bankruptcy Court for the: Eastern District of Pennsylvania
 (Philadelphia)___________
                                                                            (State)
 Case number 19-14606-amc


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: U.S. Bank National Association, not in its                          Court claim no. (if known): 5
individual capacity but solely as trustee for RMTP Trust, Series
2021 BKM-TT

                                                                                      Date of payment change:                     July 1, 2024
                                                                                      Must be at least 21 days after date
Last four digits of any number you use                2438                            of this notice
to identify the debtor's account:



                                                                                      New total payment:                          $1991.11
                                                                                      Principal, interest, and escrow, if any



 Part 1:          Escrow Account Payment Adjustment
1.    Will there be a change in the debtor's escrow account payment?
        No
        Yes.          Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why: ___________________________________________
                       __________________________________________________________________________________________________

                       Current escrow payment:       $418.66                                New escrow payment:         $416.87

Part 2:           Mortgage Payment Adjustment
 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
       debtor's variable-rate note?
        No
        Yes.          Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                       attached, explain why:
                       ___________________________________________________________________________________________________
                       Current Interest Rate:                                             New interest rate:
                       Current principal and interest payment:                                 New principal and interest payment:
Part 3:           Other Payment Change
 3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
        Yes.          Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect)

                       Reason for change:

                       Current mortgage payment:                                                New mortgage payment:




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Debtor 1     Linda D. DaCosta                                                            Case Number (if known)      19-14606-amc
             First Name                Middle Name          Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box
          I am the creditor.
   I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

           /s/ Michelle Ghidotti, Authorized Representative of Creditor                                          Date 05/20/2024
     Signature


 Print:                   Michelle Ghidotti, Authorized Representative of Creditor___________ Title           Creditor`s Authorized Agent
                          First name          Middle Name   Last name

 Company                  GHIDOTTI | BERGER LLP

 Address                  1920 Old Tustin Ave,
                          Number                Street

                          Santa Ana, CA 92705
                          City                  State       Zip Code

 Contact phone            (949) 427-2010                    Email:      bknotifications@ghidottiberger.com
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                                                                                      ESCROW ACCOUNT
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                                                                                DISCLOSURE STATEMENT
      1601 LBJ Freeway                                                              Online Information: www.fayservicing.com
      Suite 150
      Farmers Branch, TX 75234                                                      8am-7pm Monday-Thursday, 8am-5pm Friday, 9am-12pm
                                                                                    Saturday, Operating hours are Central Time
                                                                                    Toll Free: (800) 495-7166
                                                                                    Fax: (630) 282-7548

                                                                                    Correspondence:
                                                                                    1601 LBJ Freeway Suite 150
      47079293                                                                      Farmers Branch, TX 75234
      LINDA SCHNOLIS                                                       Analysis Date:                                                   03/29/24
      426 S 44TH ST APT 1                                                  Loan Number:
      PHILADELPHIA, PA 19104
                                                                           Borrower Name:                                            LINDA SCHNOLIS

                                                                           Property Address: 426 S 44TH ST 1
                                                                                             PHILADELPHIA PA 19104




Each year Fay Servicing, LLC reviews your escrow account to determine your new monthly escrow payment. As you may know, we collect
funds and hold them in your escrow account to pay your property taxes and insurance premiums on your behalf. Below are answers to the
most commonly asked questions we receive about the annual escrow analysis and the details related to your account.
1. What is the amount of my new monthly payment starting July 01, 2024 ?
                  Payment Items                               Current Payment                New Payment                  Difference
                  Total Payment                                        1,992.90                   1,991.11                        -1.79
                  Portion Going to Escrow                                418.66                     416.87                        -1.79


  ●   Note: If you currently use a third party bill pay service to make automatic payments, please update the amount scheduled to reflect
      the new payment amount listed above. If you are currently set up on automatic payments with Fay Servicing, this new amount will
      automatically take effect with your July payment.
2. What are the most common reasons that my escrow payment may change from year to year?
  A. Increases or Decreases in Amounts Billed – The amounts we collect each month to be held in your escrow account may change
     based on increases or decreases to your property taxes, mortgage insurance premiums, or homeowner's insurance premiums. The
     information below compares the amounts Fay Servicing expected to pay for each item this past year from your escrow account to
     the actual amounts that were paid or will be due. The difference column reflects the increase or decrease for each escrowed item.
                                                                    Anticipated             Actual Amounts
                  Escrowed Item                                    Amounts Due                  Paid or Due                Difference
                  CITY / TOWN                                       Not Available                 $1,998.48                    $1,998.48
                  F.H.A. INS                                        Not Available                 $2,382.96                    $2,382.96
                  HOMEOWNERS I                                      Not Available                   $621.00                      $621.00
                  Total Annual Escrow Payments                         $5,023.92                  $5,002.44                      -$21.48
                  Monthly Escrow Payments                                $418.66                    $416.87                       -$1.79


  B. Repayment of Escrow Shortage or Surplus – According to the projections shown in Table 1 on the reverse side, your escrow
     account will rise above the minimum required balance of $436.58 in February. This means you have a surplus of $20,394.65 in
     your escrow account.
                     Projected Low Escrow Balance                   Allowable Low Escrow Balance                          Surplus*
                                $4,664.63                 minus                $436.58                       equals      $20,394.65

  * An Escrow Adjustment of $16,166.60, scheduled to be repaid through the bankruptcy, is included in this calculation.




                                                                     ESCROW SURPLUS SUMMARY
  Loan Number:
  Name: LINDA SCHNOLIS                                               Fay Servicing, LLC will refund this surplus by check within 30
  Surplus Amount: $20,394.65                                         days, provided your loan is current.

                                                                     If you have questions regarding this surplus amount, please
                                                                     contact us at (800) 495-7166.
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  LINDA SCHNOLIS                                 Doc        Filed 05/20/24 Entered 05/20/24 19:10:29     Desc Main
                                                                                                  Loan Number:
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                                                                                    6 PAYMENT EFFECTIVE DATE: July 01, 2024

                                       ESCROW ACCOUNT PROJECTIONS AND ACTIVITY HISTORY
   Table 1 shows a month by month estimate of the activity we anticipate will occur in your escrow account over the next 12 months. This
   table shows the projected low balance point that is used to calculate an escrow surplus or shortage.
   TABLE 1 - ACCOUNT PROJECTIONS
                                                              Payments      Disbursements                     Total           Minimum
   Month               Description                             Estimate           Estimate                 Balance            Required         Difference
                       Beginning Balance                                                                  $5,537.79
   07/24               F.H.A. INS                                 416.87              198.58               5,756.08               436.58          5,319.50
   08/24               F.H.A. INS                                 416.87              198.58               5,974.37               436.58          5,537.79
   09/24               F.H.A. INS                                 416.87              198.58               6,192.66               436.58          5,756.08
   09/24               HOMEOWNERS I                                 0.00              621.00               5,571.66               436.58          5,135.08
   10/24               F.H.A. INS                                 416.87              198.58               5,789.95               436.58          5,353.37
   11/24               F.H.A. INS                                 416.87              198.58               6,008.24               436.58          5,571.66
   12/24               F.H.A. INS                                 416.87              198.58               6,226.53               436.58          5,789.95
   01/25               F.H.A. INS                                 416.87              198.58               6,444.82               436.58          6,008.24
   02/25               F.H.A. INS                                 416.87              198.58               6,663.11               436.58          6,226.53 **
   02/25               CITY / TOWN                                  0.00            1,998.48               4,664.63               436.58          4,228.05
   03/25               F.H.A. INS                                 416.87              198.58               4,882.92               436.58          4,446.34
   04/25               F.H.A. INS                                 416.87              198.58               5,101.21               436.58          4,664.63
   05/25               F.H.A. INS                                 416.87              198.58               5,319.50               436.58          4,882.92
   06/25               F.H.A. INS                                 416.87              198.58               5,537.79               436.58          5,101.21
   Totals                                                      $5,002.44           $5,002.44
   ** Low Balance used to determine escrow surplus or shortage.
   Federal law (RESPA) allows lenders to maintain a two month cushion in an escrow account. A lower cushion may be required under state law. The
   cushion helps minimize the amount your escrow account could be overdrawn if tax or insurance payments increase.
   Table 2 itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure. Last year estimates are next to the
   actual activity. The letter 'E' beside an amount indicates that the payment or disbursement has not yet occurred, but is estimated to occur as shown. An
   asterisk (*) indicates a difference from a previous estimate either in the date or amount and may be caused by any of the following:

            • The actual amount of insurance or taxes paid since your last Escrow Analysis Statement was higher or lower than anticipated
            • Additional funds were applied to your escrow account
            • The time elapsed between payments to escrow and disbursement from escrow was shorter or longer than anticipated on your last Escrow
              Analysis Statement.

   TABLE 2 - ESCROW ACTIVITY HISTORY
                                                                      Payments                       Projected Disbursements                        Total
   Month           Description                                    Estimate            Actual             Estimate       Actual                   Balance
                   Beginning Balance                                                                                                               $0.00
   02/24                                                                0.00        7,080.40 *                 0.00            0.00              7,080.40
   03/24           F.H.A. INS                                           0.00          418.66 *                 0.00          204.37 *            7,294.69
   03/24           CITY / TOWN                                          0.00            0.00                   0.00        1,998.48 *            5,296.21
   04/24           F.H.A. INS                                           0.00            0.00 E                 0.00          198.58 E            5,097.63
   05/24           F.H.A. INS                                           0.00          418.66 E                 0.00          198.58 E            5,317.71
   06/24           F.H.A. INS                                           0.00          418.66 E                 0.00          198.58 E            5,537.79
   Totals                                                              $0.00       $8,336.38                  $0.00       $2,798.59

                                                                  IMPORTANT NOTICES
ACH Debit Borrowers: You have previously authorized Fay Servicing, LLC to automatically debit your bank account each month for the amount of your
monthly payment of principal, interest, and escrow (if applicable). Please note the amount of your next ACH debit will be changed (increase/decrease) to
reflect the amount of your new monthly payment as reflected herein, Fay Servicing, LLC is authorized to debit your bank account each month until you
provide written or oral notice to stop. Termination request must be received by Fay Servicing, LLC at least three (3) business days prior to your next
scheduled debit.
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                                                       DISCLOSURES
Federal law requires us to advise you that Fay Servicing, LLC (NMLS ID     ) as the servicer of your loan, is responsible for
collecting your payments; however, in some circumstances we may be acting as a debt collector, in those circumstances, this
communication is from a debt collector attempting to collect a debt and any information obtained may be used for that
purpose.
CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your
account may be reflected in your credit report. As required by law, you are hereby notified that a negative credit report
reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms of your credit
obligations.
IMPORTANT BANKRUPTCY NOTICE
Bankruptcy (if applicable) - To the extent your original obligation was discharged or is subject to an automatic stay of
bankruptcy under Title 11 of the U.S. Code, this statement is for compliance and/or informational purposes only and does not
constitute an attempt to collect a debt or to impose personal liability for such obligation. However, Fay Servicing, LLC retains
rights under its security instrument, including the right to foreclose its lien.
NOTICE TO CUSTOMERS
To provide us with a Notice of Error about the servicing of your loan, or make a Request for Information about the servicing of
your loan, please contact us at:
                   Fay Servicing, LLC
                   Attn: Customer Service Department
                   Attn: Customer Service Department, Fay Servicing, P.O. Box 815548
                   Farmers Branch, TX 75381
Should you have any questions or concerns regarding your loan, please contact us at (800) 495-7166. Our office is open 8am-
7pm Monday-Thursday, 8am-5pm Friday, 9am-12pm Saturday, Operating hours are Central Time.
MINI MIRANDA
This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained will be
used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and does not imply
that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy laws of the United
States.
HUD STATEMENT
Pursuant to Section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive
counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD-approved
housing counseling agencies by calling the HUD nationwide toll-free telephone number at (800) 569-4287.
EQUAL CREDIT OPPORTUNITY ACT NOTICE
The Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of race, color,
religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding contract);
because all or part of the applicant’s income derives from any public assistance program; or because the applicant has in
good faith exercised any right under the Customer Credit Protection Act. The federal agency that administers compliance with
this law concerning this creditor is:
                                                      Federal Trade Commission
                                                       Equal Credit Opportunity
                                                    600 Pennsylvania Avenue, NW
                                                        Washington, DC 20580
                                     1-877-FTC-HELP (1-877-382-4357); TTD: 1-866-653-4261
                                                             www.ftc.gov
SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) - If you or any other person on this mortgage is a servicemember or dependent
of a servicemember, you may be entitled to certain protections under the Federal Servicemembers Civil Relief Act (50 U.S.C.
Sec 501) regarding the servicemember’s interest rate and the risk of foreclosure. Counseling for qualified individuals is
available at agencies such as Military OneSource and Armed Forces Legal Assistance. To obtain information on counseling
assistance, contact the OneSource Center, toll free, at (800)-342-9647 or visit their website:
http://legalassistance.law.af.mil.content/locator.php.
PROPERTY INSPECTIONS
If your loan account is in default, in accordance with the terms of your Mortgage/Deed of Trust, Fay Servicing, LLC may
inspect your property to determine that it is being maintained and occupied. As needed or required, Fay Servicing, LLC may
secure the property. Securing the property may result in locks being added or changed in an effort to protect the property
and may also include winterizing and/or mowing the property as necessary. Any fees for such an inspection and/or property
services may be charged to your account.
Disputed Debts: If you are disputing the debt, or a portion of the debt, please note that this statement is for information and
compliance purpose only. It is not an attempt to collect a debt against you.
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                                       CERTIFICATE OF SERVICE
       On May 20, 2024, I served the foregoing document described as Notice of Mortgage Payment
Change on the following individuals. By electronic means through the Court’s ECF program:


        COUNSEL FOR DEBTOR: Robert D Steinberg, rsteinberg@wwdlaw.com


        TRUSTEE: Kenneth E West, ecfemails@ph13trustee.com


        US TRUSTEE: Office of the U.S. Trustee , USTPRegion03.PH.ECF@usdoj.gov




By depositing true copies thereof in the United States mail at Santa Ana, California enclosed in a sealed
envelope, with postage paid, addressed as follows:


        DEBTOR: Linda D. DaCosta
                      426 S. 44th Street, Unit 1
                      Philadelphia, PA 19104




       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.



                                                            /s/Michelle Ghidotti, Authorized
                                                            Representative of Creditor
